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                       UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE


UNITED STATES OF AMERICA             )
                                     )
                                     )
                                     )
v.                                   )           NO. 2:10-CR-136-DBH-02
                                     )
DANEEK MILLER,                       )
                                     )
                     DEFENDANT


                ORDER AFFIRMING RECOMMENDED DECISION
                       OF THE MAGISTRATE JUDGE


      On May 10, 2011, the United States Magistrate Judge filed with the

court, with copies to counsel, his Recommended Decision on Defendant’s

Competency to Stand Trial.       (Docket Item 369).     The defendant filed his

objection to the Recommended Decision on June 3, 2011. (Docket Item 383). I

have reviewed and considered the Recommended Decision, together with the

entire record, including the hearing transcript and the Bureau of Prisons

psychologist’s report; I have made a de novo determination of all matters

adjudicated     by   the   Recommended   Decision;    and   I   concur   with   the

recommendations of the United States Magistrate Judge for the reasons set

forth in the Recommended Decision, and determine that no further proceeding

is necessary.

      With respect to the primary issue―the defendant’s ability to assist

properly in his defense by consulting with his lawyer―I certainly understand

defense counsel’s concerns about the difficulties of communicating with his
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client and preparing the case for trial or other disposition.                     But the

psychologist         reached   an    unequivocal    conclusion   that   the    defendant’s

“competency-related skills are not significantly compromised by symptoms of a

serious mental illness or defect, such that he would be unable to understand

the nature and consequences of the proceedings against him or to assist

properly in his defense.”           Forensic Report of Miriam Kissin, Psy.D., dated

February 4, 2011 (“Kissin Report”), Gov’t Ex. 1, at 13.

      What concerns defense counsel is what the defendant did on the sole

occasion he met with him, what he did with a previous lawyer, and what he did

with the BOP’s forensic psychologist.              According to the psychologist, when

current counsel attempted to discuss the case with the defendant, the

defendant “hit himself in the face, pushed the table out of the way and banged

on the window.”          Recommended Dec. at 7.        The lawyer then terminated the

interview. Id. With the earlier lawyer, he hit his head on the wall and fell to

the floor.     Id.    Similarly, the BOP psychologist could not conduct a “formal

interview regarding his competency-related capacities” because the defendant

“interrupted the process by engaging in acting out behaviors.” Kissin Report at

13.

      But the psychologist found that these behaviors are not caused by

serious mental disease or defect, but instead are the latest in “a long-standing,

documented history of volitional acting out behaviors.             These behaviors are

intended to aid him in avoiding unpleasant experiences, consequences and

situations.”         Id. at 12.     The psychologist found that the behaviors were

“historically adaptive” and unlikely to be discontinued “without significant
                                                                                          2
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motivation to act otherwise. While his acting out behaviors will likely continue

to undermine his relationship and cooperation with his attorney, as well as

participation in court proceedings, it is important to note that it is predicated

on goal-directed and volitional behaviors, rather than a major mental illness.”

Id.

        I am aware of the difficulty in making such distinctions (volitional vs.

mental disease or defect) as neuroscience reveals more about how the brain

actually works. And here the psychologist was candid that she did not know

how to stop these behaviors on the defendant’s part that have come to have a

“characterological foundation.” Id. But given the language Congress has used

(requiring a finding “by a preponderance of the evidence that the defendant is

presently suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his

defense,” 18 U.S.C. § 4241(d)), and the fact that this defendant can behave

appropriately when the incentives motivate him (such as when dealing with his

young son and his mother1 or when discussing matters apart from his criminal

charges2), I conclude that he does not meet the statutory standard of


1 According to the testimony of the psychologist:

                He had a visit over the weekend with his mother and his son, and
                when he was asked how—how he was able to manage with them
                and not have problems there where he was having problems on
                the unit, he stated that he had to hold it together for them, he
                can’t discuss these kind of things or behave in those kind of ways
                with them.
Hr’g Tr. at 51 (Docket Item 386).
2 According to the testimony of the psychologist:

                He was willing to sit down and speak to me about his
                background, history, about how he’s doing currently while at our
(continued next page)
                                                                                            3
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incompetence to stand trial.            See United States v. Salley, 2004 WL 170322

(N.D. Ill. Jan. 16, 2004) (Lefkow, J.).3

       It is therefore ORDERED that the Recommended Decision of the Magistrate

Judge is hereby ADOPTED. I find the defendant competent to stand trial.

       SO ORDERED.

       DATED THIS 29TH DAY OF JUNE, 2011


                                                      /S/D. BROCK HORNBY
                                                      D. BROCK HORNBY
                                                      UNITED STATES DISTRICT JUDGE




                  institution. He was friendly appropriate during these meetings.
                  It changed only in the context of when the conversation turned to
                  his legal matter and when I tended to interview him relating to
                  competency-related skills.
Hr’g Tr. at 57.
3 Like the parties and the Magistrate Judge, I find it unnecessary to decide whether something

labeled a “personality disorder” rather than “mental disease or defect” can ever suffice.
Instead, I conclude here that whatever the label, the defendant’s condition does not meet the
standard.

                                                                                             4
